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                 EXHIBIT
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                                    Corrected Expert Report

                                      John R. Logan, Ph.D.

        League of United Latin American Citizens (LULAC), et al. v. Greg Abbott, et al.

         United States District Court for the Western District of Texas, El Paso Division

                                   Civil Action No. 3:21-cv-299



I.     Introduction

       1. I have been retained as an expert by counsel for the United States in the above

captioned litigation. I have prepared this report pursuant to Federal Rule of Civil Procedure

26(a)(2)(B). I have been asked to analyze the population composition of Congressional and

State House Districts in several areas of Texas and suggest possible revisions in several

instances. In order to accomplish this task, I refined and implemented a method for estimating

citizen voting-age population in electoral districts in Texas using data from the American

Community Survey and Census 2020. I have also been asked to evaluate the extent of

socioeconomic disparities between racial and ethnic groups in areas of Texas.



II.    Professional Qualifications

        2. I earned my BA degree in Social Science from the University of California, Berkeley

 in 1968, MA in Sociology from Columbia University in 1969, and PhD in Sociology from the

 University of California, Berkeley in 1974. I am a sociologist, specializing in urban sociology,

 political sociology, and social demography. Urban sociology includes research on the spatial

 structure of urban areas (including patterns of segregation by race, ethnicity, and social class);

 disparities across neighborhoods along such dimensions as schools, policing, health, and



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political influence; local politics and public policy that influence how local areas develop and

change over time; and the social connections and networks among residents. Political sociology

deals with patterns of power, influence, and political participation both within the U.S. and

across the globe, often linking political processes to socioeconomic cleavages within

communities and nations. Social demography deals with a wide range of population processes,

and I have worked mainly in the areas of race and ethnicity, migration and immigration, and

population distribution.

          3. I have taught undergraduate and graduate courses in all of these areas since 1972. I

have also developed competence and taught courses in quantitative research methods and spatial

analysis. At the University at Albany (1980-2004), I was jointly appointed as a tenured

professor in the Departments of Sociology and Public Administration and Policy, and I was

appointed as a SUNY-wide Distinguished Professor in 2000. At Brown University (2004-

present), I am Professor of Sociology with tenure, and until 2016 I served as the founding

director of the research initiative on Spatial Structures in the Social Sciences.

          4. I have served as Vice President of the American Sociological Association (“ASA”),

as Chair of the Community and Urban Sociology Section of the ASA, and as President of the

Research Committee on Urban and Regional Development of the International Sociological

Association. I have been honored with three book awards from the ASA: the Robert E. Park

Award (1988), the Award for a Distinguished Scholarly Publication (1990), and the William J.

Goode Award (1997). I also received the Robert and Helen Lynd Lifetime Achievement Award

(2008).

          5. I am recognized as a leading international scholar on topics that are relevant to this

case, including residential segregation and neighborhood disparities that affect racial and ethnic



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minorities and immigrants, measuring disparities in socioeconomic characteristics of group

members, estimating area characteristics using published census data, applying Geographic

Information Systems (GIS) methods to the analysis of spatial data, and evaluating demographic

and public policy factors that affect minority political participation and representation. My

scholarly publications have been cited by other researchers more than 36,000 times, and my

reports based on analyses of census data have been the basis of many articles in major U.S.

news media. I was the director of a multidisciplinary project funded by the Russell Sage

Foundation to examine social, economic, and political changes in American society revealed by

the 2010 Census. I direct projects at Brown University that provide estimates of census tract

population data from 1970 through 2020 within constant 2010 census tract boundaries

(downloaded more than 10,000 times by a wide variety of researchers, public agencies, and

non-profit organizations), as well as measures of residential segregation from 1980 through

2020 for metropolitan areas and cities that are also widely used.

       6. Exhibit 1 to this report is a curriculum vitae setting forth my professional

background, which includes a list of all publications that I have authored. These include two

books, seven edited books and special issues of professional journals, and over 220 peer-

reviewed journal articles and book chapters. My research on dealing with changing census

administrative boundaries and varying sample sizes in census data over time prepares me for the

estimation approaches that I use in this report. Relevant recent articles were published in The

Professional Geographer (2014), Annals of the American Association of Geographers (2016),

American Journal of Sociology (2018), Geographical Analysis (2020), Demography (2020), and

Applied Geography (2021). My articles on the relationship between socioeconomic

characteristics of persons in different racial/ethnic groups and their voter registration and



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 turnout are especially relevant to my analysis of socioeconomic disparities. These include

 Journal of Ethnic and Migration Studies (2009), Journal of Ethnic and Migration Studies

 (2012), Social Forces (2012), and Sociological Perspectives (2021).

III.   Compensation

        7. I am being compensated $300 per hour for my work in connection with this litigation.

 My compensation is unaffected by the opinion and conclusions that I reach.

IV.    Other Expert Testimony Given in Last 10 Years

       8. I have mainly served as an expert in legal cases involving disparate impacts of public

policy decisions, particularly related to housing and community development. In one earlier case

(Wallace v. Blanco, No. 05-cv-5519, Eastern District of Louisiana), I provided an expert report

and testimony on the demographic characteristics of persons who were displaced by Hurricane

Katrina, which could be an obstacle to their participation in local elections in 2006. In a more

recent federal voting rights case in 2019, I provided an expert report and testimony on the extent

to which members of the Latino community in Islip, New York, bear the effects of

discrimination in areas such as education, employment, and health, which hinder their ability to

participate effectively in the political process (Flores v. Town of Islip, No. 2:18-cv-3549 ,

Eastern District of New York).

       9. I provided an expert report and deposition in Fair Housing in Huntington Committee

v. Town of Huntington, No. 11-cv-1298, Eastern District of New York. I provided an expert

report in United States ex rel. Lockey v. City of Dallas, No. 3:11-cv-3554, Northern District of

Texas. I provided an expert report in an Administrative Complaint to the U.S. Department of

Housing and Urban Development in BNI, Inc. v. Baltimore County, 2013.




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V.     Materials Relied on and Methodology

       10. For the purpose of evaluating the composition of enacted and alternative illustrative

districts, I relied on several resources. As described in more detail in Appendix A, I estimated

the number of voting-age citizens in every census block in Texas using 1) the PL-94 block-level

counts of population by race and Hispanic origin from Census 2020 and 2) the group-specific

census tract estimates of the number of voting-age persons (VAP) and voting-age citizens

(CVAP) from the five-year American Community Survey (ACS) for 2016-2020. For final

estimates of CVAP percentage, I applied standard racial/ethnic categories: Hispanic (any race),

non-Hispanic white (referred to in this report as “white”), and non-Hispanic black (black alone

or in combination with any other race, referred to in this report as “black”). For each group, I

applied the ACS tract-level estimates of the share of citizens among the voting age population to

the actual counts of voting-age persons in every block that lies within that tract (HCVAP or

BCVAP percentage).

       11. In some cases my analysis is based on the current enacted plans or prior plans for

Congressional and State House Districts. For reference, these maps are reproduced below. In

three cases I propose an alternative set of boundaries to demonstrate the feasibility of providing

minority voters with an opportunity to elect a candidate of their choice in Congressional Districts

(the case of the Houston and San Antonio/El Paso Congressional Districts) and in State House

Districts (the case of El Paso/West Texas State House Districts). Illustrative maps for these

plans are also provided below.

       12. In developing illustrative plans, I used GIS maps – including 2020 block, tract,

precinct, and county boundaries, and location of major roads – downloadable from the Census

Bureau or the national Historical GIS Project (https://www.nhgis.org/gis-files ). I geocoded



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addresses of Congressional and State House incumbents provided by Department of Justice staff.

I also used prior, current enacted, and alternative districting plans available from the Texas State

Capitol Data Portal. I used open source GIS software (QGIS) and a related open source

redistricting program (Statto Software Redistricter, available at

https://plugins.qgis.org/plugins/qgis3redistricter-master/) to keep track of the assignment of

blocks to districts, and I used the commercial ArcMap program from ESRI to create the final

versions of the illustrative maps.

       13. I followed what I understand to be traditional redistricting principles:

a) I deferred as much as possible to the current enacted plans, presuming that they take into

account a local understanding of communities of interest based on such dimensions as

urban/rural, coastal/interior, inner city/suburb, and important political and administrative areas. I

limited my attention insofar as possible to the specific areas of interest in this case, and I did not

recommend changes in adjacent outlying areas.

b) Insofar as possible I defined Congressional Districts (CDs) based on whole precincts and State

House Districts based on whole counties and (in West Texas) whole Voting Tabulation Districts

(VTDs). Precincts are defined by county governments. VTDs are mostly based on precincts, but

are defined by the Census Bureau to be aligned with census administrative areas. In some cases

where a precinct is divided by a major road, I used the road instead of the precinct boundary to

define the boundary of the district. In order to equalize populations, in CDs, it was also

sometimes necessary to divide precincts along the CD boundaries based on where blocks with

the requisite populations could be found.




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c) I equalized populations in Congressional Districts, which required dividing some precincts

into different CDs. I maintained a deviation within 5% of equal population sizes for State House

Districts.

d) I sought to avoid narrow bridges connecting different portions of districts, keeping in mind the

criterion of compactness.

e) Where possible I made use of major roadways as boundaries. In a small number of cases I

split precincts that are divided by a major highway into different districts.

f) Outside of major city centers the population tends to be clustered in smaller suburbs and

towns. I gave preference to keeping these communities wholly within the same district, because

they often represent separate political units and communities of interest. When I divided them I

sought to use a major highway or other topographical feature as a dividing line.

g) I took into account the racial/ethnic composition of the citizen voting-age population as I

made choices about districting. I did this for two reasons: 1) African Americans and Hispanics

are highly clustered in both urban and rural areas, and these clusters constitute important and

longstanding communities of interest based on shared racial/ethnic identities and to a large extent

also on common socioeconomic position, and 2) effective minority political representation is

enhanced in districts where groups have a larger presence in the pool of eligible voters.

h) I was attentive to the home addresses of incumbents, and I sought to avoid including two

incumbents in the same CD. In the Houston area this is difficult because several Congressional

Representatives reside within a fairly narrow zone of the City of Houston. The current enacted

Plan C2193 places Representatives Lee and Crenshaw in the same CD. My illustrative plan

places Representatives Fletcher and Crenshaw in the same CD. In El Paso, the current enacted

Plan H2316 places State Representatives Ordaz Perez and Ortega in the same district. In the



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illustrative plan, Representatives Ordaz Perez and Fierro are in the same district, though I note

that Representative Fierro lost in the March 2022 primary to Representative Ordaz Perez.

i) I did not analyze political party registration or partisan voting patterns in creating districts.

        14. For the purpose of assessing socioeconomic disparities between whites, blacks, and

Hispanics, I relied mainly on the 2015-2019 ACS Public Use Microdata Sample (“PUMS”).

These microdata include a 5% sample of the population cumulated over a five-year period. I do

not rely on the more recent 2016-2020 ACS microdata. Analyzing ACS microdata requires

using person weights that the Census Bureau describes for 2020 as “experimental,” and it

recommends not comparing results from ACS 2020 microdata with results from prior years. In

contrast, the Census Bureau considers that 2016-2020 tabulations for block groups and larger

geographies to be suited for public and government use. These tabulations merge data from all

five years using a confidential system to make the 2020 areal tabulations consistent with those

from prior years. I use these more recent 2016-2020 ACS tabulations in the estimation of CVAP

because it better reflects trends in citizenship for minority groups.

        15. The ACS microdata include a variety of standard socioeconomic characteristics

including median household income, poverty, unemployment, education level, coverage by

health insurance, and English-language ability. The microdata allow me to use the same

racial/ethnic categories as in the analysis of CVAP: Hispanic (any race), non-Hispanic white

(referred to in this report as “white”), and non-Hispanic black (black alone or in combination

with any other race, referred to in this report as “black”). The microdata identify people’s

location within the state only in terms of Public Use Microdata Areas (PUMAs), which average

100,000 population. As explained in more detail in Appendix B, I linked PUMAs as closely as




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possible to the geographic areas of interest (i.e., counties and legislative districts) for the

analyses of socioeconomic disparities.

        16. For the analysis of disparities within the counties that are included in HD31, it was

not possible to rely on the PUMS microdata because these small counties are not uniquely

identifiable with the PUMA geography. For these counties I relied instead on the county-level

tables published from ACS 2015-2019. Because HD31 is entirely comprised of whole counties,

these data correspond exactly to its boundaries. Because of the small population size of these

counties, there is considerable sampling error in the reported data. The black population sample

size is especially small, and the tabulations either do not include any reported counts for some

variables (e.g., black income and poverty data are omitted except for Wilson County), or the

estimated margin of error is very large (e.g., black income per capita is reported as $7,328 while

its margin of error is estimated to be $8,762). For this reason I only compare the data for non-

Hispanic whites and Hispanics in HD31, and I interpret the size and consistent direction of

differences between them as evidence of a pattern of disparities rather than as precise estimates.

VI. Analysis of Enacted and Alternative District Maps

        17. I have been asked to develop illustrative district maps in three areas: Congressional

Districts in the Houston area, Congressional Districts in West Texas including the area that is

currently CDs 16, 20, and 23, and State House Districts in West Texas in an area including El

Paso, Odessa, and Eagle Pass. In the illustrative maps and tables for these areas, I have assigned

a district number that corresponds approximately to the district number in the current enacted

plan. On illustrative maps the illustrative district numbers include an apostrophe (‘) to clarify

that they do not refer to the current district numbers. I have also been asked to provide

information on the composition of the citizen voting-age population (CVAP) in three other areas



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based on prior and current enacted maps and with some potential modifications. One of these is

in Dallas-Fort Worth, where I have been asked to analyze 1) the composition of two components

of CD6, the small area that reaches into Dallas and Tarrant Counties and the remaining area, and

2) CD24 in the previous and current enacted plans, identifying the composition of areas that were

reallocated between these two plans. Another is current HD31 in South Texas, where I have

been asked to describe the composition of the district as enacted and as it might be modified by

replacing two currently included counties with two different adjacent counties. The third is in

Bexar County, where I have been asked to compare the composition of HD118 in plan H2176

(the “committee plan”) and in Plan H2316 (the current enacted plan). This involves describing

the composition of areas that were removed from HD118 by the current enacted plan and areas

that were added to HD118 in that plan.

Houston Area Congressional Districts

       18. I developed an illustrative plan for Congressional Districts in the Houston area. The

illustrative plan includes 13 districts that together encompass the same geographic area as

districts in the enacted plan. CD17 and CD27 are unchanged from the current enacted plan.

Map 1A illustrates all of the illustrative Congressional districts in the Houston area, including the

portion of illustrative CD10’ that extends to the western suburbs of Austin and is also part of

current enacted CD10. Map 1B is a close-up of the same map showing the boundaries of

districts in the central urban area of Houston. Map 1C shows the relationship of illustrative

districts 29’ and 38’ to the current enacted CD29.




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              Map 1A. Illustrative Congressional Districts in the Houston area




             Map 1B. Close-up of illustrative Congressional Districts in
                     the Houston area showing major roads

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    Map 1C. Relationship of the current enacted CD29 to the illustrative CD29’ and CD38’



        19. Table 1 provides population and CVAP estimates for the current enacted and

illustrative Houston districts. The current enacted plan has one Hispanic majority district

(CD29). I was asked if it were possible to draw an illustrative plan with two Hispanic majority

districts that meet traditional redistricting criteria. The table shows two illustrative districts,

CD29’ and CD38’, that meet these criteria, with HCVAP percentages of 50.7% and 50.8%

respectively. These estimates are based on the procedures described in Appendix A, applying

citizen shares at the census tract level as reported in the American Community Survey (ACS)

2016-2020 to the racial/ethnic counts of voting-age persons in census blocks as reported in the

2020 Census.




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                               Table 1. Estimated CVAP composition of current enacted
                                 and illustrative Houston-area Congressional Districts
                     Total                                                    Hispanic              White
                  population     Total      Hispanic     Black     White       CVAP    Black CVAP   CVAP
                     2020       CVAP         CVAP        CVAP      CVAP     percentage percentage percentage
     Current enacted
           2        766,987    494,906     110,619     63,713   290,010      22.4%       12.9%       58.6%
           7        766,987    449,393      96,092     93,324   167,489      21.4%       20.8%       37.3%
           8        766,987    493,264     117,495     65,819   272,249      23.8%       13.3%       55.2%
           9        766,987    439,371     117,291    203,293    74,003      26.7%       46.3%       16.8%
          10        766,987    536,551      98,125     56,305   347,577      18.3%       10.5%       64.8%
          14        766,987    540,459      99,180     91,295   325,032      18.4%       16.9%       60.1%
          17        766,987    541,989      98,646     88,622   331,421      18.2%       16.4%       61.1%
          18        766,987    463,934     136,259    189,115   108,129      29.4%       40.8%       23.3%
          22        766,987    482,878     113,636     61,406   243,624      23.5%       12.7%       50.5%
          27        766,987    543,410     260,632     25,983   240,909      48.0%        4.8%       44.3%
          29        766,987    386,195     244,049     74,199    53,789      63.2%       19.2%       13.9%
          36        766,987    521,232     117,022     69,733   303,592      22.5%       13.4%       58.2%
          38        766,987    502,805      97,141     54,335   295,541      19.3%       10.8%       58.8%
     Illustrative
          2'       766,987     496,458     104,362     57,206   304,355      21.0%       11.5%       61.3%
          7'       766,987     486,182     102,150     85,463   226,540      21.0%       17.6%       46.6%
          8'       766,987     497,529     109,426     68,323   265,621      22.0%       13.7%       53.4%
          9'       766,987     450,649     101,330    187,224    92,320      22.5%       41.5%       20.5%
         10'       766,987     535,740      90,469     45,284   363,508      16.9%        8.5%       67.9%
         14'       766,987     537,507     119,509     62,382   323,795      22.2%       11.6%       60.2%
         17'       766,987     541,989      98,646     88,622   331,421      18.2%       16.4%       61.1%
         18'       766,987     460,641     118,658    187,898   120,392      25.8%       40.8%       26.1%
         22'       766,987     487,173     102,649     68,286   256,719      21.1%       14.0%       52.7%
         27'       766,987     543,410     260,632     25,983   240,909      48.0%        4.8%       44.3%
         29'       766,987     398,255     201,721     84,446    82,923      50.7%       21.2%       20.8%
         36'       766,987     531,035      78,471    106,784   325,827      14.8%       20.1%       61.4%
         38'       766,987     429,817     218,166     69,239   119,034      50.8%       16.1%       27.7%

       20. I also created alternative CVAP estimates in which I applied the estimation

procedures that were used by the Texas Legislative Commission (TLC). As described in more

detail in Appendix A, TLC relied solely on block group estimates of CVAP as reported in ACS

2015-2019 or 2016-2020, which introduces some error for block groups that are divided between

districts. I applied the TLC procedure to the more recent data at the block group level in ACS

2016-2020. Following this procedure yields the same Hispanic CVAP percentages (50.7% and

50.8%) in districts 29’ and 38’.



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Congressional Districts 16, 20, and 23

       21. I developed an illustrative plan for Congressional Districts in West Texas. Map 2A

shows the boundaries of illustrative CD16’ in the El Paso area, illustrative CD20’ in the San

Antonio area, and illustrative CD23’, which covers the territory between the two districts. Map

2B of the El Paso area provides a close-up view of the boundary between illustrative CD23’ and

illustrative CD16’ along with major roads. The crosshatched area has been moved from current

enacted CD23 into illustrative CD16’, and the area with diagonal lines has been moved from

current enacted CD16 into illustrative CD23’. Map 2C provides a close-up view of the boundary

between illustrative CD23’ and illustrative CD20’ along with major roads. The cross-hatched

area has been moved from current enacted CD23 into illustrative CD20’. The area with diagonal

lines has been moved from current enacted CD20 to illustrative CD23’.




                   Map 2A. Illustrative Congressional Districts in the area of
                   current enacted CDs 16, 20 and 23 showing county names



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             Map 2B. Illustrative CD16’ and CD23’ showing major roads
             and changes from the boundaries of the current enacted CDs




           Map 2C. Illustrative CD23’ and CD20’ showing major roads and
              changes from the boundaries of the current enacted CDs


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           22. Table 2 presents estimates of CVAP composition for these illustrative Congressional

Districts. In the illustrative plan all three districts remain majority Hispanic.

                             Table 2. Estimated CVAP composition of current enacted and
                                     illustrative West Texas Congressional Districts

                  Total                                                   Hispanic
                population     Total     Hispanic    Black                 CVAP     Black CVAP White CVAP
                  2020         CVAP       CVAP       CVAP     White CVAP percentage percentage percentage
Enacted
    16             766,986     487,663    385,766    17,896       72,818       79.1%       3.7%         14.9%
      20           766,987     508,183    343,361    34,119      110,114       67.6%       6.7%         21.7%
      23           766,987     503,156    285,373    21,590      175,708       56.7%       4.3%         34.9%
Illustrative
      16'          766,987     490,927    381,608    19,446       77,576       77.7%       4.0%         15.8%
     20'           766,986     521,403    296,979    36,686      159,909       57.0%       7.0%         30.7%
     23'           766,987     486,672    335,913    17,474      121,156       69.0%       3.6%         24.9%




Texas House Districts in El Paso / West Texas

           23. I developed an alternative illustrative plan for State House Districts in the El

Paso/West Texas area. I was asked to evaluate if districts could be drawn to bring the population

of districts in El Paso County closer to the ideal size. In consultation with attorneys for the

United States, who had analyzed election data that I have not used, I also made changes that

unpacked the concentration of Latino voters in HDs 74, 75, 77, 78, and 79, as compared to HD

81, and avoided pairing Representative Ordaz Perez with returning incumbents in illustrative

HD75’ or illustrative HD77’. Map 3A shows the boundaries of six illustrative districts in the

resulting illustrative plan. Map 3B is a close-up of the districts in the El Paso area that also

includes major roads.




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                 Map 3A. Illustrative State House Districts in West Texas




   Map 3B. Close-up of illustrative State House Districts in El Paso showing major roads


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           24. Table 3 presents estimates of district composition in West Texas for the illustrative

plan and for currently enacted State House Districts that most closely coincide with the

illustrative districts. The table shows that there are 6 majority-Hispanic districts in both plans.

Five of the districts in the enacted plan have populations over 200,000, with an average size of

199,583. All districts in the illustrative plan are under 200,000, and the average size is 190,194.

                           Table 3. Estimated CVAP composition of current enacted and
                                   illustrative West Texas State House Districts
                  Total                                                       Hispanic
                population               Hispanic    Black                       CVAP  Black CVAP White CVAP
                  2020     Total CVAP CVAP           CVAP     White CVAP percentage percentage percentage

Enacted
     74           203,239    122,671     93,339     2,670       24,130       76.1%        2.2%       19.7%
     75           200,505    109,708     96,997     3,032        8,064       88.4%        2.8%        7.4%
      77          203,921    126,624    108,933     2,698       13,080       86.0%        2.1%       10.3%
      78          203,786    134,287     91,652     6,365       31,595       68.3%        4.7%       23.5%
      79          201,379    136,877    106,329     5,897       21,227       77.7%        4.3%       15.5%
      81          184,670    116,947     61,874     5,597       10,525       65.8%        5.4%       27.5%
Illustrative
       74'        195,659    118,298     86,911    26,633        3,034       73.5%        2.6%       22.5%
       75'        187,769    102,232     88,992     8,269        3,264       87.0%        3.2%        8.1%
       77'        187,776    118,184    102,302    12,004        2,282       86.6%        1.9%       10.2%
       78'        187,062    122,544     85,954    28,203        4,583       70.1%        3.7%       23.0%
       79'        185,604    125,956     88,643    25,153        7,623       70.4%        6.1%       20.0%
       81'        197,291    121,428     89,944    26,597        2,942       74.1%        2.4%       21.9%


Dallas-Fort Worth Area Congressional districts

           25. Maps 4A and 4B illustrate the relationship between CD24 in Dallas-Fort Worth as it

was defined in the former Plan C2100 and in the current enacted Plan C2193. Map 4A illustrates

the whole area of the previous CD24, and identifies specific areas that were removed under the

current enacted plan. These areas include parts of the current CD6, CD12, CD24, CD26, CD32,

and CD33. Map 4B, conversely, illustrates the whole area of the previous CD24, and it identifies

portions of former CDs that are now in CD24. These areas include parts of the current CD5,

CD12, CD24, CD26, and CD32.



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                  Map 4A. The area of CD24 in the former plan,
                    showing areas now moved to other CDs




               Map 4B. The area of CD24 in the current enacted plan,
               showing areas that were moved into it from other CDs

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       26. Table 4 shows that the current enacted plan reduced CD24’s Hispanic and black

CVAP percentages in comparison to the former plan. These two groups combined declined from

29.7% to 19.1% of the total CVAP, while the white CVAP percentage increased from 55.6% to

70.3%. The table also compares the composition of areas that were removed or added to CD24

between the prior plan (C2100) and the current enacted plan (C2193). The table distinguishes

three kinds of areas: those that were placed in CD24 in both plans, those that were in CD24

under the prior plan and were removed, and those that were not in CD24 under the prior plan and

were added. The table also reports the other CDs to which these areas were added or from which

they were taken. The area of CD24 that is common to both plans has modest Hispanic CVAP

percentage (13.3%) and black CVAP percentage (7.3%). CD24 under the prior plan had larger

Hispanic and black CVAP percentages, as the area removed under the enacted plan is 19.9%

Hispanic and 18.5% black. In comparison, the total area added to CD24 from other CDs in the

prior plan total only 11.9% Hispanic CVAP percentage and 5.7% black CVAP percentage. The

result is to make the district less Hispanic and black and more white.




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                       Table 4. Components of change in the composition of CD24
                             between the former and current enacted plans
                                                                   Hispanic     Black  White
                            Total   Hispanic    Black     White      CVAP       CVAP   CVAP
                            CVAP     CVAP       CVAP      CVAP percentage percentage percentage
Area common to both plans   255,042    33,831   18,606   171,057    13.3%        7.3%          67.1%


Removed from CD24 and added to:
                       6     37,084     9,926    5,187    17,433    26.8%       14.0%          47.0%
                      12      6,221     1,071     921      3,210    17.2%       14.8%          51.6%
                      26     68,642     8,624    7,259    38,078    12.6%       10.6%          55.5%
                      32     75,639    14,888   18,292    33,403    19.7%       24.2%          44.2%
                      33     80,792    18,787   18,100    27,624    23.3%       22.4%          34.2%
          Total removed     268,378    53,298   49,759   119,748    19.9%       18.5%          44.6%
Added to CD24 from:
                       5     13,319     1,284    1,248    10,194     9.6%        9.4%          76.5%
                      12     45,507     7,377    3,860    29,606    16.2%        8.5%          65.1%
                      26    120,951    17,371    7,062    83,883    14.4%        5.8%          69.4%
                      32     95,111     6,695    3,474    77,919     7.0%        3.7%          81.9%
                      33          20       4        9         0     20.1%       46.9%           0.0%
            Total added     274,908    32,731   15,653   201,602    11.9%        5.7%          73.3%


Total former CD24           523,420    87,129   68,365   290,805    16.6%       13.1%          55.6%
Total enacted CD24          529,950    66,562   34,259   372,659    12.6%        6.5%          70.3%




       27. Map 4C shows Congressional Districts in the Dallas-Fort Worth area under the

current enacted Plan C2193. It highlights in yellow the main portion of CD6, and it shows in

blue an additional component of CD6 that extends into Dallas and Tarrant Counties.




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                Map 4C. Boundaries of Congressional District 6, showing in blue
                   the portion that extends into Dallas and Tarrant Counties.


       28. Table 5 provides data about the composition of CD6, distinguishing the portion that

extends into Dallas and Tarrant Counties from the remainder of the CD. For reference it also

includes the other Congressional Districts in the current enacted plan. CD6 has an estimated

22.2% Hispanic CVAP percentage, which is considerably higher in the Dallas/Tarrant County

portion of the district (29.9%) than in the remainder of the district (17.9%). There is also a

higher black CVAP percentage in the Dallas/Tarrant County component (19.3%) than in the

remainder of the district (13.7%). As a result, current enacted CD6 combines portions of urban

Dallas and Tarrant Counties that are nearly 50% Hispanic and black CVAP with a rural area that

is nearly two-thirds white CVAP, creating a congressional district that is approximately 38%

Hispanic and black CVAP.



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                          Table 5. Composition of CVAP population of components of CD6
                                       and other CDs in Dallas-Fort Worth
                                                                                Hispanic               White
                           Total       Total    Hispanic    Black    White       CVAP     Black CVAP   CVAP
                         population    CVAP      CVAP       CVAP     CVAP      percentage percentage percentage
Dallas/Tarrant portion     317,266    175,696    52,477     33,966    72,520      29.9%      19.3%         41.3%
Remainder of CD6           449,721    313,557    56,025     42,864   204,604      17.9%      13.7%         65.3%
CD6 total                  766,987    489,252   108,502     76,830   277,124      22.2%      15.7%         56.6%


Other CDs in Dallas-Forth Worth
           5               766,987    504,023    95,120     76,503   297,764      18.9%      15.2%         59.1%
           6               766,987    489,253   108,502     76,830   277,122      22.2%      15.7%         56.6%
          12               766,987    532,559    96,278     64,239   338,439      18.1%      12.1%         63.5%
          24               766,987    529,950    66,562     37,908   372,659      12.6%       7.2%         70.3%
          25               766,987    543,982    86,006     65,536   361,400      15.8%      12.0%         66.4%
          26               766,987    511,449    71,540     50,319   336,817      14.0%       9.8%         65.9%
          30               766,987    493,704   114,773    234,458   120,537      23.2%      47.5%         24.4%
          32               766,987    462,781   102,119    105,829   208,920      22.1%      22.9%         45.1%
          33               766,987    383,227   167,525    103,512    85,497      43.7%      27.0%         22.3%


Texas House District 31 (South Texas)

       29. Map 5 shows the composition of the current enacted House District 31, which is

comprised of ten counties. The map identifies Karnes and Wilson Counties in the far north of

HD31. It also shows the location of two counties that are adjacent to HD31 to the east of Duval

County: Jim Wells and Kleberg Counties.




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                       Map 5. Composition of HD31 under current enacted
                         plan H2361, and location of adjacent counties


       30. Table 6 describes how the composition of HD31 would change if Karnes and Wilson

Counties were replaced by Jim Wells and Kleberg Counties, which would make HD31 more

compact. Table 6 shows that the current enacted district has a total population of 184,966, while

the illustrative version has a population of 190,434 (closer to the ideal population size of

194,303). In both versions the black CVAP percentage is no more than 2%. However the

Hispanic CVAP percentage is substantially higher in the illustrative plan (79.7%) than in the

current enacted plan (65.1%).

                Table 6. HD 31 composition as curently enacted and with two counties replaced

                                                                            Hispanic     Black     White
                                    Total    Hispanic   Black    White       CVAP       CVAP       CVAP
                      Population    CVAP      CVAP      CVAP     CVAP      percentage percentage percentage
     Enacted HD 31       184,966   116,945    76,169     2,319    36,760      65.1%       2.0%       31.4%
     Revised HD 31       190,434   120,046    95,647     1,641    21,311      79.7%       1.4%       17.8%




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Texas House District 118 (Bexar County)

       31. Maps 6A and 6B compare the boundaries of HD118 in the legislative committee plan

(H2176) and the current enacted plan (H2316). Map 6A shows the boundaries of HD118 in the

current enacted plan. The dotted lines in Map 6B illustrate these same boundaries. The colored

areas in Map 6B show the allocation of areas to different House Districts under the committee

plan. The current enacted plan added areas that had been in HD117 and 119 in the committee

plan, and it removed an area that had been in 118 in the committee plan.




                Map 6A. Boundaries of HD118 and other Bexar County House
                        Districts under current enacted plan H2316.




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             Map 6B. House Districts in current enacted plan H2316 (dotted lines)
                     compared to districts in the committee plan H2176.


       32. Table 7 shows that HD118 has a Hispanic CVAP majority in both versions of the

plan, but considerably higher in the committee plan (65.5%) than in the enacted plan (57.4%).

This difference results from the removal of some areas in the committee plan that are nearly 90%

Hispanic (moved to HD117 and HD119), and the addition of some areas that are less than 50%

Hispanic from HD117 and HD119.




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                        Table 7. Components of change in the composition of HD 118
                             between the committee and current enacted plans
                                                                   Hispanic    Black     White
                              Total    Hispanic   Black     White   CVAP      CVAP       CVAP
                              CVAP      CVAP      CVAP      CVAP percentage percentage percentage
Area common to both plans    115,955    70,198     5,259    36,290    60.5%      4.5%      31.3%
Removed from HD 118 and
added to:
   117                         6,972     6,256       123       493      89.7%         1.8%      7.1%
   119                        11,184    10,030        83       980      89.7%         0.7%      8.8%
Added to HD 118 from:
   117                         6,851     3,282       565     2,698      47.9%         8.2%     39.4%
   119                        16,040     6,239     1,929     7,026      38.9%        12.0%     43.8%
District totals
   Committee plan            134,112    86,484     5,465    37,763      64.5%         4.1%     28.2%
   Enacted plan              138,846    79,719     7,753    46,014      57.4%         5.6%     33.1%




VII. Analysis of Socioeconomic Disparities

         33. The analysis of socioeconomic disparities is presented below separately for the entire

State of Texas and five large urban counties, based on analyses of microdata from the 2015-2019

ACS, and for the ten largely rural counties that are included in enacted House District 31 (based

on published county-level tables from the 2015-2019 ACS). The indicators of socioeconomic

status are inter-related aspects of the human capital and financial resources of residents. They

are widely used in the research literature on socioeconomic disparities, and I have used them in

this way in many publications. They include the mean household income, income per capita, and

share of persons in households with incomes below the poverty line (all based on 2019 inflation-

adjusted dollars and guidelines), share of persons in the civilian labor force who are unemployed,

share of persons age 25 and above who have completed at least 12 years of education, share of

persons age 5 and above who speak English “very well” or “speak only English,” share of

persons who have any health insurance coverage, and share of persons in a household with at

least one automobile or light truck available for use. The county-level tabulations do not include


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vehicle availability. As described in Appendix B, results are presented in Table 8 separately for

non-Hispanic whites, non-Hispanic blacks (including those reporting more than one race), and

Hispanics. However, due to the small black populations in the counties in HD31, results are not

reported for blacks in Table 9. Based on analysis of variance of the microdata, all relationships

between race/ethnicity and socioeconomic indicators are statistically significant at the p<.001

level. That is, there is less than a 0.1% chance that these sample data are drawn from a

population in which there is no difference across racial/ethnic groups. As described in Appendix

B, due to the small sample sizes in the ACS for rural counties in HD31, the sampling variability

of estimates for individual counties is large relative to the reported estimates, and I do not rely on

measures of statistical significance for Table 9. However the estimates in Table 9 are the best

available unbiased estimates. In other words, they are not biased upwards or downwards, and

there is no better source of estimates. Under these conditions it is standard practice in social

science research to draw conclusions from estimates based on small samples, particularly when –

as is true in this case – they reveal a pattern of disparities that is highly consistent across different

indicators and counties.

        34. Table 8 documents substantial socioeconomic disparities between Hispanics and

whites in all five major urban counties. In only two instances is there parity between Hispanics

and whites (vehicle access in Dallas and Tarrant Counties). In some counties and on some

measures the disparities are especially large. For example, Hispanic household income is less

than half that of whites in Dallas and Harris Counties. Per capita income of Hispanics is less

than 40% of per capita income of whites in these counties. The share of Hispanics below the

poverty line is three times as high as the white share in Harris County. However, despite these

variations, the main pattern of disparities across this set of five large metropolitan counties is



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similar. Hispanics are greatly disadvantaged on multiple dimensions of socioeconomic status in

comparison to whites.

       35. Table 8 also reports results for the black population. On several indicators black

residents are greatly disadvantaged in comparison with whites, but not so much as Hispanics.

Disparities between blacks and whites are largest in mean household income, income per capita,

poverty, and unemployment. Blacks are considerably more likely than Hispanics to have

completed high school and to speak English fluently, and they are more likely to have health

insurance coverage, and on these indicators their disparity with whites is smaller.

       36. Table 8 also provides an overall statewide comparison across groups. It shows that

Hispanics have less favorable socioeconomic standing than non-Hispanic whites on every

indicator. The mean household income of Hispanics is only 60.3% of the mean household

income of whites. Income per capita of Hispanics is barely half that of whites, and the share of

Hispanics below the poverty line is more than double that of whites. There are very large

disparities in high school completion (68.7% for Hispanics vs. 95.0% for whites), ability to speak

English “very well” or “speak only English” (70.3% vs 98.8%), and health insurance coverage

(72.3% vs. 89.8%). Hispanics are also somewhat more likely to report being unemployed when

interviewed during 2015-2019, and slightly less likely to have at least one vehicle available for

use by their household.




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                    Table 8. Socioeconomic disparities between whites, blacks, and Hispanics
                    statewide and in major counties (American Community Survey 2015-2019)

                          Mean      Income     Below                              English       Has
                        household     per     poverty              Completed      spoken       health   Vehicle
                         income      capita     line    Unemployed high school   very well   insurance available
Texas       White        118,849     49,201     0.084       0.041        0.95       0.988      0.898       0.977
            Hispanic      71,749     24,356     0.209       0.053      0.687        0.703      0.723       0.966
            Black         74,146     30,181     0.193       0.077      0.918         0.98      0.841       0.923
Bexar       White        113,266     48,627     0.093       0.043      0.964        0.981        0.91      0.969
            Hispanic      73,694     26,486     0.187       0.055        0.78       0.829      0.813        0.95
            Black         77,691     31,954     0.165       0.064      0.943        0.989      0.877       0.918
Dallas      White        138,831     62,635     0.075       0.035      0.959         0.98      0.904        0.97
            Hispanic      67,754     22,334      0.19       0.042      0.566        0.564      0.656       0.972
            Black         67,036     30,173     0.197       0.074      0.916        0.971      0.839       0.897
Tarrant     White        124,826     49,973     0.067       0.038      0.958        0.988      0.904       0.981
            Hispanic      75,335     25,609     0.172       0.048      0.659         0.69      0.715       0.982
            Black         76,459     30,611     0.176       0.065      0.934        0.968      0.846       0.945
Harris      White        145,518     62,266     0.069       0.047      0.966         0.98      0.916       0.974
            Hispanic      71,459     24,344     0.211       0.054      0.652        0.602      0.676       0.965
            Black         72,923     29,806     0.201       0.091      0.923         0.98      0.842       0.916
El Paso     White         94,960     43,387     0.108       0.053      0.963        0.964      0.909       0.973
            Hispanic      64,849     22,852     0.222       0.057      0.769        0.622      0.771       0.959
            Black         76,670     35,194     0.115       0.051      0.965        0.983      0.882       0.942


          37. Table 9 presents results on a similar set of variables for whites and Hispanics in the

ten counties in the current enacted HD31. Estimated values for both whites and Hispanics vary

considerably across counties, which is to be expected when data are based on limited sample

sizes. As a result, it is difficult to draw conclusions based on any single county. To summarize

the general pattern in this region, the table also presents the average values (means) across all ten

counties (weighting each county by its 2020 non-Hispanic white and Hispanic populations,

respectively).

          38. The table shows that Hispanics have considerably lower household income and

income per capita than whites in all ten counties. Their poverty share and share with no health

insurance are higher in all counties except Brooks County. Their unemployment rate is higher

on average, higher in six counties but lower in four counties. Their share of high school



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graduates is considerably lower and their share of fluent English speakers is considerably lower

in all ten counties.

        Table 9. Indicators of socioeconomic status for non-Hispanic whites and Hispanics, for counties in enacted HD31 (ACS 2015-2019)


                                                                                                                                         Group-
                                Brooks     Duval    Jim Hogg   Karnes    La Salle   Live Oak   McMullen    Starr    Wilson    Zapata    Weighted
                                County    County     County    County    County      County     County    County    County    County     Mean
Median household income
   White                        $31,058   $55,125     NA       $71,036   $56,732    $64,085    $104,583   $74,453   $84,474   $56,400   $66,438
   Hispanic                     $28,079   $38,188   $32,296    $46,953   $46,304    $36,467     $51,635   $30,309   $66,932   $32,566   $40,973
Income per capita
   White                        $11,421   $20,854   $19,912    $50,849   $29,348    $32,603     $50,954   $21,714   $37,788   $35,632   $31,108
   Hispanic                     $14,784   $17,451   $16,534    $15,179   $20,176    $15,051     $12,061   $14,126   $25,108   $19,481   $16,995
Below poverty
   White                          0.457     0.024     0.130      0.087     0.041      0.126       0.103     0.223     0.064     0.195     0.145
   Hispanic                       0.412     0.248     0.322      0.255     0.192      0.255       0.135     0.348     0.131     0.356     0.266
Civilian labor force
unemployed (age 16-64)
   White                          0.050     0.112     0.065      0.030     0.056      0.031       0.066     0.000     0.052     0.000     0.046
   Hispanic                       0.125     0.106     0.116      0.081     0.034      0.017       0.065     0.152     0.055     0.108     0.086
High school or more (age 25+)
   White                          0.857     0.926     0.928      0.922     0.858      0.842       0.986     0.764     0.920     0.760     0.876
   Hispanic                       0.674     0.657     0.728      0.651     0.598      0.634       0.845     0.531     0.798     0.604     0.672
Speak English very well (age
5+)
   White                          1.000     1.000     0.924      0.988     0.976      0.998       1.000     0.707     0.989     1.000     0.958
   Hispanic                       0.842     0.855     0.838      0.742     0.813      0.759       0.933     0.556     0.847     0.587     0.777
Has health insurance
   White                          0.769     0.863     0.811      0.933     0.821      0.867       0.971     0.775     0.912     1.000     0.872
   Hispanic                       0.778     0.772     0.781      0.801     0.815      0.769       0.670     0.652     0.816     0.698     0.755



           39. Whites’ incomes are lower and their poverty is higher in HD31 than statewide, but

their standing on other indicators is similar to the Texas white average. Similarly, Hispanics’

incomes are lower and their poverty and unemployment rate is higher in this region than the

statewide Hispanic average. But they are more similar to Hispanics statewide on education,

English language fluency, and health insurance coverage.

           40. The socioeconomic disparities described here are important as indicators of the

overall disadvantages that Hispanics in these areas face in comparison to whites. In my own

research and in the literature on political participation, they have also been found to be associated

with lower likelihood for citizens to register to vote or to vote if registered (see especially my

findings in Journal of Ethnic and Migration Studies [2009], Journal of Ethnic and Migration



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Studies [2012], Social Forces [2012], and Sociological Perspectives [2021], and the citations to

other research found in these articles).



Date: June 14, 2022




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John R. Logan




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Appendix A. CVAP Estimation

I estimated CVAP at the 2020 block level for every racial/ethnic category and for the total
population, and I aggregated the estimates for every block within an enacted or proposed district
to yield that category’s percentage of the district’s CVAP.
The data sources I used are:
   •   Block-level population estimates by race/ethnicity and age in the Census 2020 Public
       Law 94-171 Summary File.
   •   Tract-level estimates of CVAP for a limited set of race and Hispanic origin categories in
       a “special file” of the 2016-2020 American Community Survey (ACS).
   •   Tract-level estimates of age for a limited set of race and Hispanic origin categories in the
       main 2016-2020 American Community Survey (ACS).
The ACS data are the only available estimate of CVAP. I rely on the five-year ACS 2016-2020
tabulations because tract data are only provided for five-year aggregations. A concern with
relying on data for this cumulative sample is that a group’s share of citizens in its voting-age
population may have changed over time. If it were higher in 2020 than in 2016, the 2016-2020
estimate would underestimate it. In Step 3 below, I provide evidence that Hispanic citizen share
was indeed rising in this period, so using the five-year series understates Hispanic citizen share
and also the Hispanic CVAP percentage in legislative districts.
Relying on ACS data adds other complications to the estimation of CVAP in 2020. While the
2020 Census provides full-count estimates of the population age 18 and above for very detailed
categories of race and Hispanic origin, the ACS data report voting age citizens and age for a
more limited set of categories.
   •   CVAP should be estimated for African Americans, defined by OMB standards as persons
       who are “non-Hispanic black alone or in combination with any other race.” The ACS
       does not report this category. It does report CVAP by three components (black alone,
       black and white, and black and American Indian/Alaska Native), but it does not report
       any other combinations.
   •   The ACS special tabulation of CVAP does not also report voting age population (VAP)
       by group (VAP) for census tracts. This tabulation is available separately from the main
       ACS, which reports the age distribution for Hispanics and several other race categories,
       but does not distinguish Hispanics from non-Hispanics within those race categories.
       Census 2020 data are a reliable source to estimate the non-Hispanic share of each race
       group for the 18+ population. I applied the 2020 “non-Hispanic share” to the ACS “race
       by age” tabulation to determine the estimated VAP by race and Hispanic origin that is
       needed as the denominator in calculating the CVAP percentage (CVAP/VAP) in 2016-
       2020. To do this requires the reasonable assumption that the non-Hispanic share of each
       group did not meaningfully change between 2016-2020 and 2020.
The following sections describe in some detail the steps taken to develop the CVAP estimates for
2020 blocks in Texas.




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Estimation steps
1. CVAP in the ACS at the 2010 tract level
My first step in estimation uses the ACS estimates of CVAP by race and Hispanic origin. In
these tabulations the Census Bureau rounds the estimates (estimates between 1 and 7 are rounded
to 4 and estimates 8 and higher are rounded to the nearest 5). The published categories are:

       Total
       Not Hispanic or Latino (NH)
              *NH White Alone (NHW)
              *NH Black or African American Alone (NHB)
              *NH Asian Alone (NHA)
              *NH Native Hawaiian or Other Pacific Islander Alone (NHPI)
              *NH American Indian or Alaska Native (AIAN) Alone
              NH American Indian or Alaska Native and White
              NH Asian and White
              NH Black or African American and White
              NH American Indian or Alaska Native and Black or African American
              NH Remainder of Two or More Race Responses
       *Hispanic or Latino
I used the categories marked with an asterisk (*)in the analysis. The remaining categories cannot
be analyzed separately through the remaining steps, and I combined them in this analysis into a
residual category (“NH Multiracial”).
The ACS reports CVAP for persons who are “NH Black or African American Alone” but not for
“NH Black or African American Alone or in Combination with Another Race.” Fortunately, the
citizen share for the “alone” category can also be applied to the “in combination” category. To
test this approach, I analyzed microdata for the whole state of Texas from the 2019 ACS PUMS
sample. As noted in my report, I did not use the 2020 ACS PUMS because the Census Bureau
describes it as “experimental” due to the problems in sampling during the pandemic. The one-
year sample for the whole state in 2019 is very large and it was designed to be representative at
the state level, so I can rely on these most recent data rather than data for the whole 2015-2019
period. In this sample, in 2019 the “NH black alone” citizen share was .9520, compared to .9529
for “NH black alone or in combination,” which makes me confident that I can use the former as
an estimate of the latter.
Note that the 2020 census’s “NH Other Race Alone” category also is not reported by the ACS,
and it cannot be inferred as the difference between the “total” and the sum of all other categories
because of the rounding of those categories’ counts. This is a small category. My analysis of the
2019 ACS PUMS microdata shows that it was 1.2% of the population in Texas. Its citizen share
in 2019 was .8577. In the absence of a tract-level estimate, I estimate the citizen share for “NH
Other Race Alone” persons in every tract at the statewide value of .8577.
2. VAP estimation
For areas larger than census tracts, the ACS CVAP tables also include estimates of the full
voting age population (VAP) that can be used as the denominator in computing CVAP



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percentage (CVAP/VAP). For tract estimates one must turn to the main ACS 2015-2019 or
2016-2020 tract files.
It is essential to use the ACS sample data for this purpose because it is the same sample from
which CVAP is drawn, so the VAP will correspond to exactly the same people as the CVAP.
The ACS provides the number of persons age 18 and over for the following categories of race
and Hispanic origin:
       Hispanic or Latino
       NH White Alone
       White Alone
       Black or African American Alone
       Asian Alone
       Native Hawaiian or Pacific Islander Alone (NHPI)
       American Indian or Alaska Native Alone (AIAN)
       Some Other Race Alone
       Two or More Races
These categories mostly correspond to those for which CVAP is reported, noting that “Two or
More Races” is the same as the “Multiracial” category created from the CVAP counts. There are
two exceptions. The age distribution for Some Other Race Alone is reported, but it cannot be
used because it is missing from the CVAP tabulation. More important, all the race categories
except NH White Alone combine Hispanics and non-Hispanics. A further step is needed to
estimate the non-Hispanic share of the 18+ population in the other five categories.
The age breakdown by race and Hispanic origin is not reported by the ACS. However, the 2020
block data include counts of persons age 18+ for 70 detailed combinations of race, separately for
Hispanics and non-Hispanics. I aggregated these 2020 data into the race categories reported in
the ACS race by age tabulation. Then I calculated the non-Hispanic counts of voting age
population for each racial category as the product of its non-Hispanic share in the tract (from
Census 2020) times its total 18+ population in the ACS (where Hispanics and non-Hispanics are
combined).
3. CVAP percentage
Step 2 yields estimates of VAP in the same categories as CVAP in Step 1. The CVAP percentage
for each race/ethnic category is the ratio of CVAP to VAP in the census tract. I computed this
ratio for the following categories:
       Hispanic or Latino
       NH White Alone
       NH Black or African American Alone
       NH Asian Alone
       NH Native Hawaiian or Pacific Islander Alone (NHPI)
       NH American Indian or Alaska Native Alone (AIAN)
       NH Multiracial
I set citizen share for NH Other Race Alone at .8577 for all tracts. Citizen share for multiracial
persons includes those who are black and some other race, although in Step 4 this value is
applied only to the count of multiracial persons who are not black.


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As noted above, relying on ACS tract data for citizenship information requires the assumption
that the citizen share of the 18+ population of every racial/ethnic category was unchanged
between the ACS 2016-2020 estimates and the 2020 Census. However, it is possible to use the
PUMS microdata from the ACS in 2015 and 2019 (a 1% sample of the population with weights
intended to make it representative for large geographic units such as states) to examine this
assumption. If the citizen share of a given group were rising in this period, I would conclude that
the actual citizen share in 2020 was higher than the average for 2016-2020 as reported in the
ACS tract data.
The PUMS microdata confirm that the citizen share among Hispanics age 18 and above was
increasing in this period. It was .7072 in 2015 and rose to .7429 in 2019. This change is highly
statistically significant, unlikely to be due to sampling variation. It is possible for rates to both
rise and fall over time, depending in part on the volume of immigration by non-citizen adults.
There are substantive reasons to interpret this rise as a natural tendency for a population group
that is growing through fertility (as is the case for Hispanics), a point previously made by Chapa
et al (2011). 1 First, many Hispanics who were age 14-17 at the time of ACS data collection had
reached age 18 by 2020. Second, these young adults were more likely than older Hispanics to be
citizens by virtue of being born in the U.S. Under these conditions, there would be a natural
demographic trend toward increasing citizen share for Hispanics.
A similar smaller trend is observed for non-Hispanic Asians, whose citizen share statewide
increased from .6408 in 2015 to .6502 in 2019.
Consequently, the CVAP percentages estimated for purposes of this report for 2020 blocks are a
conservative estimate for Hispanics, possibly underestimating Hispanic CVAP percentage by 2-
3%.
4. Block-level CVAP in 2020
The final step is to multiply the tract-level estimate of CVAP percentage by the count of persons
18+ (VAP) in every block for each race/ethnic category. This step yields the group’s CVAP
estimate for the block. This is the procedure recommended by Chapa et al (2011, pp. 11-13) to
develop CVAP estimates at units smaller than the county level.
In some cases, particularly for the smallest racial categories, there is no CVAP information for a
tract in the ACS but nevertheless there is a non-zero VAP in the 2020 block. In these cases, I
used the mean value of citizen share across all Texas census tracts in this step.
As noted in step 1, the citizen share estimated for persons who are “NH black alone” is applied
twice. It is applied to the number of voting age residents who are NH black alone to estimate the
NH black alone CVAP. It is also applied to the full number of persons who are “NH black alone
and in combination.”
The final categories for which I estimated CVAP in 2020 blocks are as follows:




1
 Chapa, Jorge, Ana Henderson, Aggie Jooyoon Noah, Werner Schink, and Robert Kengle. 2011.
“Redistricting: Estimating Citizen Voting Age Population.” Research Brief of the Chief Justice
Earl Warren Institute of Law and Social Policy, University of California, Berkeley Law School.
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       Hispanic or Latino
       NH White Alone
       NH Black Alone
       NH Black or African American Alone or in Combination
       NH Asian Alone
       NH Native Hawaiian or Pacific Islander Alone (NHPI)
       NH American Indian or Alaska Native Alone (AIAN)
       NH Other Race Alone
       NH Multiracial (non-black multiracial)

Alternative Estimation Using Texas Legislative Council Procedures

I have created estimates of district CVAP percentages for Hispanics and persons who are non-
Hispanic black alone or in combination. These estimates are based on 2016-2020 ACS data on
citizen share at the tract level, which are then applied to each group's PL-94 2020 voting age
population (VAP) for every block in the tract.

I have also created alternative estimates using the procedures followed by the Texas Legislative
Council (TLC) in 2021, applying the TLC procedures to the recently released 2016-2020 ACS.

The procedure has these steps, which notably make no use of the voting age population by
race/ethnicity from Census 2020. 1) The estimate of CVAP is taken from the ACS block group
counts, using the racial/ethnic categories found in ACS. 2) Hispanics are one category. The
ACS does not report CVAP for persons who are non-Hispanic black alone or in combination,
which is how TLC describes the “black” population for redistricting purposes. TLC instead uses
a “similar” ACS estimate that includes non-Hispanics who are black alone, black in combination
with white, and black in combination with American Indian and/or Alaska Native. This count
omits non-Hispanics who are black in combination with any other race or with any two or more
other races. 3) To estimate each group's CVAP percentage in a district, TLC allocates whole
block groups to districts. A block group is allocated to a district if it is wholly within the district
or 50% or more of its total population as enumerated in Census 2020 is within the district. The
50% criterion assumes that each group's CVAP is located within or outside a district in the same
proportion as the total population of all ages, whether citizen or not. TLC notes in addition that
in cases of split block groups, the procedure results in some citizen voting age persons being
counted as living in a district where they do not reside.

I have estimated CVAP for Congressional Districts in the Houston area using the TLC approach
as applied to 2016-2020 ACS data. This is the one case where the Hispanic CVAP is close to the
50% threshold to be a majority Latino CVAP district. This procedure requires identifying which
whole block groups to assign to each proposed district. It is carried out in two steps. 1) First, I
identify blocks where the entire block group is within the same district. 2) For those block
groups that are split between two districts, I calculate the 2020 populations of blocks in each
district and assign all blocks to the district with the larger population share. Then I aggregate the
ACS reported CVAP for Hispanics and for a "black" category that includes non-Hispanics who
are black alone, black in combination with white, and black in combination with American
Indian and/or Alaska Native. As stated in my report (p. 12), the TLC methodology yields

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estimated Hispanic CVAP shares in proposed CD29’ and CD38’ (the districts with a Hispanic
majority CVAP) that were within a tenth of a percent of my block-based procedure.

Census 2020 Undercount
A concern with the PL94 data from Census 2020 is that the Census Bureau has reported results
of its Post-Enumeration Survey that document systematic undercounting of African Americans,
Hispanics, and American Indians or Alaska Natives (AIAN) and overcounting of non-Hispanic
whites, Asians, and Native Hawaiians or Other Pacific Islanders (NHPI). Specifically, the
Bureau’s report concludes that the black population was undercounted by 3.30% (compared to
2.06% in 2010). The Hispanic population was undercounted by 4.99%, a statistically significant
increase from the 2010 undercount of 1.54%. The AIAN undercount was 5.64%. In contrast,
the overcount was 1.64% for non-Hispanic whites, 2.62% for Asians, and 1.28% for NHPI. The
implications of the undercount are particularly relevant for Texas, due to its combination of large
Hispanic and black populations.
I have calculated how my estimates of every group’s CVAP percentages in each block are likely
affected by the undercount. For example, if the Hispanic undercount in a given block were
4.99% (equal to the national average), the true Hispanic CVAP percentage in that block would
be 5.25% higher than the undercounted value. Similarly, if the national estimate held for a given
block, the true black CVAP percentage would be 3.41% higher than my estimate, and the true
AIAN CVAP percentage would be 5.98% higher. Hence there is strong reason to conclude that
the estimates of CVAP percentage in this report, where I make no undercount correction, are
understated for these three groups.




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Appendix B. Data for Socioeconomic Disparities Analysis

1. ACS 2015-2019 PUMS Microdata

My analysis of socioeconomic disparities Texas-wide and in major urban areas is based on the
ACS 2015-2019 PUMS microdata. In this file the survey data for a 1% sample of persons in
every year is aggregated across five years. The Census Bureau designs the samples for each year
so that the cumulative sample will be maximally representative of the population of small areas.

In order to protect the confidentiality of the sampled persons and households, people’s location is
identified only at one geographic scale within states. This scale is termed the Public Use
Microdata Area (PUMA). It is much larger than a census tract and larger than many counties,
with an average population size of 100,000. For the purpose of describing group-specific
socioeconomic status in the areas of the state examined here, it was necessary to create a
crosswalk between those areas and the PUMAs contained within them. The analyses reported
here define the areas as follows:

Harris County                 PUMAs 4601-4638.       County 201
Dallas County.                PUMAs 2301-2322.       County 113
Tarrant County                PUMAs 2501-2516        County 439
Bexar County                  PUMAs 5901-5916.       County 029
El Paso County                PUMAs 3301-3306        County 141

The PUMS microdata make it possible to define subgroups of the population as non-Hispanic
white alone, non-Hispanic black alone or in combination with another race, and Hispanic.

2. ACS 2015-2019 county tabulations

I used county-level tabulations from ACS 2015-2019 to distinguish counties within HD31. The
PUMS microdata cannot be used for this purpose because HD31 includes portions of three
PUMAs, which involve numerous other counties. No combination of PUMAs can represent the
residents of HD31.

Data are reported separately for each of ten counties:

Brooks         County 47
Duval          County 131
Jim Hogg       County 247
Karnes         County 255
LaSalle        County 283
Live Oak       County 297
McMullen       County 311
Starr          County 427
Wilson         County 493
Zapata         County 505



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Separate tabulations are reported by the Census Bureau for non-Hispanic white alone, non-
Hispanic black alone, and Hispanic. Some additional combinations of black with another race
are also available, but others are omitted. The ACS samples in these counties have small
numbers of black respondents, and data are not reported separately for black residents for a
number of counties and key variables. For this reason, my analysis of disparities in HD31 is
limited to a comparison of whites and Hispanics.




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Appendix C. Compactness of Proposed Districts

This report refers to a variety of previous and currently enacted redistricting plans, and also to
alternative illustrative plans that I developed.

A relevant quantitative measure to assess the maps I created is the Polsby-Popper measure of
compactness. The Polsby-Popper measure is the isoperimetric ratio comparing a region’s area to
its perimeter. In the case where the district is a circle, this metric achieves its maximum value of
1. In real-world applications it tends to be much lower. I calculated the Polsby-Popper scores
for Congressional Districts in Houston and West Texas and for State House Districts in West
Texas, which I present below. For comparison I also calculated the Polsby-Popper scores for all
of the enacted Congressional Districts and State House Districts in Texas (C2193 and H2361).
The tables below show that the compactness of the districts I propose is well within the usual
range for the State of Texas.

Appendix Table 1 reports these scores. The average enacted CD in Texas has a score of .189,
with a wide range of values from .038 to .532. My illustrative CDs in Houston have a mean
score of .185, and a range from .056 to .369. The three proposed CDs in West Texas range from
.222 to .463. Enacted HDs in Texas have an average score of .251, with a range from .070 to
.608. The proposed HDs in West Texas have a mean of .319, and a narrower range from.163 to
.480. The proposed districts in these three areas have values of compactness that are within the
usual distribution of values in Texas.




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              Appendix Table 1. Polsby-Popper scores for CDs and HDs

           38 Enacted CDs                150 enacted HDs
           Mean           0.189          Mean          0.251
           Minimum        0.038          Minimum       0.070
           Maximum        0.532          Maximum       0.608

           Proposed CDs in Houston       Proposed HDs in West Texas
               18'        0.056             74'       0.163
               10'        0.072             81'       0.171
               29'        0.083             77'       0.265
               17'        0.137             79'       0.365
               38'        0.138             78'       0.467
                7'        0.142             75'       0.480
                2'        0.150           Mean        0.319
                8'        0.203
               22'        0.232
                9'        0.252
               36'        0.275
               14'        0.297
               27'        0.369
             Mean         0.185

           Proposed CDs in West Texas
               20'        0.138
               23'        0.222
               16'        0.463
             Mean         0.275




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